               Case 5:18-cr-00258-EJD Document 370 Filed 03/31/20 Page 1 of 2




 1 JOHN D. CLINE (CA State Bar No. 237759)
   50 California Street, Suite 1500
 2 San Francisco, CA 94111
   Telephone: (415) 662-2260 │Facsimile: (415) 662-2263
 3 Email: cline@johndclinelaw.com

 4 KEVIN M. DOWNEY (Admitted Pro Hac Vice)
   LANCE A. WADE (Admitted Pro Hac Vice)
 5 AMY MASON SAHARIA (Admitted Pro Hac Vice)
   KATHERINE TREFZ (CA State Bar No. 262770)
 6 WILLIAMS & CONNOLLY LLP
   725 Twelfth Street, NW
 7 Washington, DC 20005
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 8 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com

 9 Attorneys for Defendant ELIZABETH A. HOLMES
10

11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                            SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                        )   Case No. CR-18-00258-EJD-SVK
15                                                    )
             Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER
16                                                    )   REGARDING WAIVER OF MS. HOLMES’
        v.                                            )   PRESENCE AT APRIL 1, 2020 CONFERENCE
17                                                    )
     ELIZABETH HOLMES,                                )
18                                                    )
             Defendant.                               )
19                                                    )   Hon. Edward J. Davila
                                                      )
20                                                    )

21           Defendant Elizabeth Holmes and the United States of America, by and through their counsel,
22 stipulate as follows:

23           1. A telephonic status conference is scheduled in this matter for April 1, 2020.
24           2. Ms. Holmes hereby waives her right to be present at the April 1, 2020 conference.
25           3. Undersigned counsel for Ms. Holmes declares that he has discussed the matter with Ms.
26               Holmes and has her permission to proceed in her absence.
27

28
     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF MS. HOLMES’ PRESENCE AT APRIL 1, 2020
     CONFERENCE
     CR-18-00258 EJD SVK                     1
             Case 5:18-cr-00258-EJD Document 370 Filed 03/31/20 Page 2 of 2




 1 DATED: March 30, 2020                          Respectfully submitted,

 2

 3

 4
                                                  LANCE WADE
 5                                                Attorney for Elizabeth Holmes
 6

 7
     DATED: March 30, 2020
 8
                                                  ADAM A. REEVES
 9                                                Attorney for the United States
                                                  Acting Under Authority Conferred
10                                                By 28 U.S.C. § 515
11
                                                  /s/ Robert S. Leach
12                                                JEFF SCHENK
                                                  JOHN C. BOSTIC
13                                                ROBERT S. LEACH
                                                  VANESSA BAEHR-JONES
14                                                Assistant United States Attorneys
15

16
                        PURSUANT TO STIPULATION, IT IS SO ORDERED
17

18
            3/31/2020
     Dated __________
19

20                                                Hon. Edward J. Davila
                                                  United States District Judge
21

22

23

24

25

26

27

28
     STIPULATION AND [PROPOSED] ORDER REGARDING WAIVER OF MS. HOLMES’ PRESENCE AT APRIL 1, 2020
     CONFERENCE
     CR-18-00258 EJD SVK                     2
